     Case 1:19-cv-22281-BB Document 12 Entered on FLSD Docket 06/24/2019 Page 1 of 55

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                                                                                   K M M tle.t'l O > 0 1* '@'
                                                                                                            Y
  SEYED M .M OGHANIasAssigneeofSTOCK &                                    CaseN o. 1:19-CV-22281-BB
   FUND M ANAGERS OVERSEA S SOCIEDAD                                               ('
                                                                                    tobejïlledI
                                                                                              '
                                                                                              nbytheClerk'
                                                                                                         sOf/Ccca
                                                                                                                l
  ANONIM A,aCostaRican Com oration'
     '
                                  ,asthe 8004
     ownerofZOFRAGUA,S.A.aEcuadorian
                Corporation,
                        Plainttts)
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    THE REPUBLIC OF ECUADOR,THE PORT
 AUTHORITY OF GUAYAQUIL,STO4.
                            ''
                             .K & FUND
   M ANA GERS OVERSEAS,IN C,A Panam anian
     Com oration,LEONIDAS EFRAm PLA ZA                                                      FlLED BY                       D,C.
VERDUGA,CARLOSAROSEM ENA BAQUERIZO.
 LEONIDAS PLAZA DIAZ,SUPEIUNTEN DENCIA                                                          J'
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    DE COM PAN IA S VALORES Y SEGUROS,
   VICTOR M ANUEL ANCH UNDIA PLACMES,                                                               ANf.:
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     CA RLO S XAVIER CADEN A ASENCIO,                                                   1       S.D O / UL..q
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                 Individually,
                      Defendant(s)
(Writethefullnameofeachdefendantwhoisbeing.
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withthefulllistofnames.
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             CO M PLAIN T FO R A CIVIL C ASE A LLEG IN G BREA CH O F CO NTR ACT
                                           (28U.S.C.j1332;DiversityofCitizenship)

         The Partiesto ThisCom plaint
         A.       ThePlaintiffls)
                  Providethe information l)eloN,fok'eacilpla.
                                                            ',ktiffnamed in the complaint. Attach additionalpagesif
                  needed.
                            Name                                SEYED M OGHANIasA ssiMneeeofS& F M anagersOverseasSA
                            StreetAddress                       95)3 SAAX/l25 Terrace
                            City and County                     M iam sDade
                            Stateand Zip Code                   F2()2'
                                                                     it1:
                                                                        t.33l76

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Case 1:19-cv-22281-BB Document 12 Entered on FLSD Docket 06/24/2019 Page 2 of 55



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                       ntforaCivilCaseAllegjngBreachofContract

                          E-mailAddress                   m ofy
                                                              lianiQ icloud.com

        B.       TheDefendantts)
                 Providetheinform ation below foreak)h detbnduntnamed inthecomplaint,whetherthedefendantisan
                 individual,agovernmmltagency,an organization,oracorporatim.Foran individualdefendant,
                 includetheperson'sjobartitleh/knownl.Attachack
                                                              ùtictaalpagesit-needed.
                 DefendantNo.l
                       N am e                             TI-IE R EPUBLIC OF EC UAD OR
                        Job orTitle (ifk.,
                                         '
                                         )wnl             Embass, ofTheRepublit:ofEcuadorin theUnited States.
                        StreetAddress                     .
                                                          ?$35 15th StNW
                        Citv and Count,'                  Vrashinzton
                        StateandZip Code                  DCZ-2..
                                                                '
                                                                )009 .            .

                          TelephoneNumber                  202)234-7200
                          E-m ailAddress(tfknown)

                 DefendantNo.2
                       N am e                              -
                                                           fHE PORT A17THORI7'Y OF GUAYAOUIL
                        Job orTitle (f/'&,mvn)
                        StreetAddress                      Avenida 25 deJulio,ViaPuerto M aritim o
                        City and Count'l                   Guayaquil,
                        StateandZip Code                   E'
                                                            )k'uador,Ecuador
                        TelephoneNumber                    593-4 201-2006
                        E-mailAddresslitknownl

                 DefendantNo.3
                       N am e                              STOCK AND bUND M /tNAGERS OVERSEAS,INC
                        Job orTitle (itJr-r
                                          ysvrl?
                        StreetAddress                      Garcia M oreno 913 & Avenida 9de Octubre
                        City and Coumy                     (J
                                                            ;llayaqtlil
                        State and Zip C'lde                Guayas,Lcuador
                        TelephoneNumber                    (5934)2322596-(5934)2322597
                        E-mailAddresslqknownl

                 DefendantNo.4
                        N am e                             LEON IDA S EJP-A IN P1.,&ZA VERD UGA
                        Job orTitle ((1Jxf
                                         pwn?
                        StreetAddress                      G arciaA..
                                                                    'loreno 913 & A s'znida9deOctubre
                        Citv and Count' t'                 G uayacluil


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Case 1:19-cv-22281-BB Document 12 Entered on FLSD Docket 06/24/2019 Page 3 of 55



ProSe4(Rev.12/16)ComplaintforaCivilCaseAllegingBreachofContract

                          Stateand Zip Code                Guavas,Ecuador
                          TelephoneNumber                  (5934)2322596-(5934):.322597
                          E-mailAddressltt'
                                          knllwnl                 ''

Il.     BasisforJurisdiction

        Federalcourtsarecourtsoflimitedjtlrisdiction(limitedpower).Under28U.S.C.j1332,federalcourtsmay
        hearcasesinwhich acitizen ofone State suesacitizeilofanotherState ornation andthe amountatstakeis
        moreth% $75,000. In thatkind ofcase,called adiversity ofcitizenshil)case,no defendantmay be acitizen of
        thesameStateasanyplaintiff Explainhow thesejurisdictionalrequirelnentshavebeenmet.

        A.       ThePlaintiffts)
                          Iftheplaintiffisa.
                                           n individual
                          Theplaintiff,('
                                        name) SE'    YED M t)GI-lANI
                                                                  .                           ,isacitizen ofthe
                          Stateof(name) FLORID A ,tJN I'  I-Ll.
                                                              IS'FA'IES.             .

                          Iftheplaintiffisacorporation
                          Theplaintiff,(name)                                                     ,isincorporated
                          underthelawsoftheStateoflnamcl                                                            ,
                          andhasitsprincipalplaceofbïlsinesslp kl'eStateof?'
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                 sameilformationhlrtdtzc/?additionalp&?j;.
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        B.       TheDefendantts)
                          Ifthe defendantisanindividual
                          Thedefendant, ('  name)                                                ,isacitizen of
                          theStateoflnanw)                                                    .Orisacitizen of
                           (jbrel
                                knntk/i()l
                                         q)                                          .

                          lfthe defendantisa corporatiok.
                          Thedefendant, lnamel Sovereiglï7'1IE REPUBLIC O17ECUADOR            ,isincom orated under
                          thelawsoftheStateoflnamaè Tl-ffïREPLTBLIC OF EUJUADOR                        ,andhasits
                          principalplace nfbusinessin the Stateoflnatnel TI-IE REPLJBLIC OF ECUADOR                .

                          Orisincorporaledunderthe lawsof(y.     .
                                                                 '
                                                                 z'i
                                                                   .zn nation)                                     ,

                          andhasitsprincipalplaceofbusint  t'c.ëi:
                                                                 atnan, eel TIIE REPUBLIC OF ECUADOR               .




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Case 1:19-cv-22281-BB Document 12 Entered on FLSD Docket 06/24/2019 Page 4 of 55




 lfthe defendantisa corporation
 The defendant,(name)        THE REPUBLIC OF ECUADOR                  isincorporated
                                                                     under
 the lawsofthe Suteof(name) ECUADOR                                  ,and hasits
 principalplace ofbusinessin Embassy oftheRepubiic ofEcuador         .
 the State of(name)            2535 15th StN W
                               W ashington,DC
                               20009
 Ifthe defendantis a corporation
 Thedefendant,(name)          THE PORT AUTHORITY       ,isincorporated tmder
                               OI7GUAYAQUIL
 the lawsofthe State of(name) ECUADOR                    ,and hasits
 principalplaceofbusinessin    Avenida25 deJulio,ViaPuerto M aritimo
 the State of(name)            City and Cotmty                 Guayaquil,
                               State and Zip Code             Ecuador,Ecuador
  Orisincorporated underthe lawsofœoreign   ,
  nation)
  and hasitsprincipalplaceofbusinessin       Avenida 25 deJulio,Via Puerto M aritim o
  (name)                                     City apd County                  Guayaquil,
                                             Stateand Zip Code               Ecuador,E(
  lfthe defendantisa corporation
  Thedefendant,(name)         LEONIDAS PLAZA
                              VERDUGA & LEON IDA S
                              PIVAZA DIAZ -LAW FIRM
                              PIwAZA VERDUGA &
                              PLAZA S.A .
  the lawsofthe Stateof(name) ECUADOR
  principalplaceofbusinessin G arcia M oreno N .913 A ve 9    Ecuador,Ecuador
  theStateof(name)             deOctubre,Ecuadoi'
  Orisincorporated underthelawsofIoreign
  nation)
  and hasitsprincipalplace ofbusinessin
  (name)                        Ecuador

  lfthe defendantis a corporatiort
  Thedefendant,(name)          C,XRLO S AROSEIWENA
                               BAQUERIZO
  the lawsofthe State of(name) ECUADOR
  principalplaceofbusinessin    Sam borondon Business          Ecuador,Ecuador
  the State of(name)            BusinessCenterTen'e C
                                (officeCenter)Piso2
                                (lficina 22,Parroquia La
                                Puntilla
                                Sam borondon,Ecuador
  Orisincom orated underthe lawsof(tbret
                                       gn
  nation)




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Case 1:19-cv-22281-BB Document 12 Entered on FLSD Docket 06/24/2019 Page 5 of 55




 and hasitsprincipalplace ofbusinessin
 (name)                        J),uador




 Ifthe defendantis a corporatiol'
 Thedefendant,(name)           LIF/
                                  O NIDA S PLAZA DIAZ

 the lawsofthe State of(name) D -'
                                 .UADO R
 principalplace ofbusinessin (larcia M oreno N .913 A ve 9    Ecuador,Ecuador
 the State of(name)            (ke O ctubre, Ecuador
 Orisincom orated underthelawscf(foreign
 nation)
 and hasitsprincipalplaceofbusinessin
 (name)                       Ecuador

 lfthe defendantisa corporatiort
 The defendant,(name)        LEON IDAS PLAZA DI.
                                               A.
                                                Z.
                              LAW FIRM PLAZA
                              Y C7RDUGA & PLAZA S.A.
 the Iawsofthe State of(name) Et'.UADO R
 principalplaceofbusinessin (larcia M oreng N .913 Ave 9      Ec'fador,Ecuador
 the State of(name)            i
                               è'de O ctklbre, T-
                                                ècuador
 Orisincorporated underthe lawscifIoreign
 nation)
 and hasitsprincipalplaceofbusiness in
 (name)                        Ecuador



 Ifthedefendantisa COP OratiOrI'
                               .SLTPERW TENDIN CIA DE COIZIPANIAS,.
 VA LO RES Y SEGU ROS
 The defendant,(name)        SIJPERINTEN DEN CIA DE
                             COM PAN IAS V ALORES Y
                               2,         .
                             SI;GURO S'.
                             Represented by VlC7'OR
                             M ANUEL AN CHi.  JN DIA
                             PLACES
 the lawsofthe Stateof(name) ECUA DOR
 principalplaceofbusinessin     (-'entro Financiero Publico   Equador,Ecuador
 the Stateof(name)              q'de O ctllbre 200 y
                                Pichineha Piso 14
                                l'
                                . lual'aqllil,Fctlador



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Case 1:19-cv-22281-BB Document 12 Entered on FLSD Docket 06/24/2019 Page 6 of 55




 Orisincorporated underthe laws47f(tbreign
 nation)
 and hasitsprincipalplace ofbusiness ii1
 (name)                        f'
                                c/ztzt/o/'


 Ifthedefendantisacorporation:
 The defendant,(name)          VICTO R M AN UEL
                               AN CHUN DIA PLACES
 the law softhe State of(name) ECUADOR
 principalplace ofbusinessin Centro Financiero Publico    Ecuador,Ecuador
 the State of(name)              9 de Octubre 200 y
                                 Pichincha Piso 14
                                 (-iuayaquilpEcuador
 Orisincorporated underthe Iawsof(tbrelgn
 nation)                          '
 and has itsprincipalplace ofbusinessilA
 (name)                         Fclftzt/t
                                        pr

 lfthe defendantisa corporation:
 The defendant,(name)        CARLO S XA VIER
                             CADENA A SENCIO
 the lawsofthe Stateof(name) EC'UADOR
 principalplaceofbusinessin    Garcia Aviles 217 )'9 de   Ecuador,Ecuador
 the Stateof(name)             (lctubre,Editicio
                               Encaladas,Piso 2
                               O ficina 20l,
                               An'iba de A inlacenesla
                               (-
                                Jallgs
 Orisincorporated underthe lawsof(jbrelgn
 nation)
 and hasitsprincipalplaceofbusinesg ilt
 (name)                        Ecuodo''




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 Case 1:19-cv-22281-BB Document 12 Entered on FLSD Docket 06/24/2019 Page 7 of 55



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                       ntforaCivilCaseAllegingBreachofcontract   .

         1)OnSeptember25,2008,TheAssignorZOFRAGUA SAtownedbyS&FM anagersOverseasSA enteredinto
        anagreementwiththePORT AUFHORITY'OFGUAYAQUIL toinvesttheamountof$12,000,000USD
        towardtheprojecttodeveloptheFREE ZONEFOR THE PORT OF GI.JAYAQUIL project(whichhadinitially
        started on October3,2001buthad experiencedliquidity issues,with thisagreementthe ''investor''ZOFRAGUA
        SA through S&F M ANAGERS OVERSEAS S.A.would investtheabovementioned am ountandthePort
        Authoritywouldgrantthelicensetooperatetheportforaperiodoftiftyyears(tobeexpiredonOctober31,
        2051andproviding anetprosttothe investorintheamotlntof$400,004).000.00USD.Afterthe$12,000,000
        USD hadbeentenderedtowardtheProject,andthenew governmentofPresidentRAFAEL CORREA took
        possession,theGovernmentofEcuadorunilaterallydecidedtocanceltheproject.(SeeExhihitA-B).
        2)OnApril12,2012,theownerofS&FM anagersOverseasS.A.,Mr.FERNA'       NDO ERNESTO M ARSH
        GAM E hiredthe servicesofthelawyersLEONIDAS EFRAIN PLAZA VERDUGA andLEONIDAS PLAZAA
        DIAZ,both from the1aw firm ofPLAZA VERDUGA & PLAZA,S.A.torepresenttheinterestsofS&F
        M anagersOverseasS.A.and itssubsidiaryZOFRAGUA S.A.againsttheRepublicofEcuadorandthePORT
        AUTHORITY OF GUAYAQUIL forbreachofcolttractandtorecovertheinvestmentmadeintheamountof
        12,000,000USD.(PleaseseeExhibit''C'')
        3)FERNANDO ERNESTO M ARSH GxtM E,currrentlyresidesintheStateofFlorida,UnitedStatesof
        Americaandhehasbeen thesoleownerofthe sharesk)fS&F M ANAGFRS OVERSEAS S.A.which ownsthe
        eighty percentofthe sharesin ZOFRAGUA,S.A.        '''
        4)lntheyear2018,Mr.March whilelivingintheUnitedStates,learnedthathisattorneyLEONIDASEFRAIN
        PLAZA VERDUGA,appointedto representtheinterestsofS&F M ANAGERS OVERSEAS S.A.andits
        SubsidiaryZOFRAGUA SA,had created anew ''entity''with asimilarname:S&F FUND M ANAGERS
        OVERSEASINC (S&FMANAGERSOVERSEASlNC registeredinPmamaandfully ownedbytheattorney
        PLAZA VERDUGA,with theilltention to tilethe zlaim forreimburseluentofthefundsfrom THE REPUBLIC
        OFECUADOR andthePORT ALJT11ORITX'fIF GtJAYAQUIL.
        5)OnM ay2,2019,Mr.FERNANDO ERNESTO MARSI.  IGAM E assignedal1ofhisrightsinthecontract
        pertaining S&F M ANAGERS OVERSEAS S.
                                           A .and itssubsidiary ZOFRAGUA S.A.tothePlaintiffin this
        actionM r.SEYED M .M OGHANI,acitizei
                                           ?oftherlnitedStates.(PleaseseeExhibit''D''.
        6)Mr.SEYED M .MOGHAM astheAssigneeoftherights,isapartyil1interest,acitizrnoftheStateof
        FloridaandtheDefendants,TH'EREPUBLIC OFECUADOR,TJ-1E PORT AUTHORITY OF GUAYAQUIL
        (ECUADOR),S&F MANAGERS OW RSEASINC,AND LEONIDASEFRAIN PLAZAA VERDUGA area11
        entitiesand individualofEcuador,theam ountin coctroversy isabove$75,000 USD.Therefore,thisHonorable
        courthasdiversityjurisdictionoverthepartiesandthecase.
        7)TIIE REPUBLIC OF ECUAI.IOR,T1-1E PORTAUTHORITY OF GLi,XYAQUIL unilaterallybreachedthe
        contractcàusing irreparableharm tothePlaintiff.
         8)Uponinformationandbelief,theGovenlmelitofEcuadorllasallocatt;fundsintlleamountof4,800,000USD
        asacompensation forthebreadlcaused by theprzviotlsgovernment,anttasofthetimeofthisaction,such
        fundsareready to bedisbllrsed ko theattorney LEON I
                                                          D AS EFRAIN PI..3.ZA VERDUGA andhis''SHAM ''
        COM PANY STOCK & FUND MANAGERSOVERSEASINC'(S&F S'
                                                        fANAGERSOVERSEASm C).
                                                                                                    See U ytmomal9AF .
        Thedefendantfailed to comply becallse rwecfA,what//leaqtitmlam r
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                                                                                                          ywf//lwhatthe
        (JgreementfJrContrttd rfrf/lfirfu./
        TheDefendantenteredinto an agreemenlwlthZOFRAGVIA SJ,
                                                            ..sandtbrollgh itsholdingcompany STOCK
        ANflF            M ANAGERS OVERSEAS S.A.receiwid thdalnountt
                                                                   )f$12,000,000 USD.Nevertheless,oncethe
                                                                   .
        governmentchangetookplace,presidentItz'
                                              VF.
                                                A.
                                                 EL CORREA decide:1tt)cancelledseveralprojectsincludingthe
        projecttodeveloptheFREE ZONE OF THE PORT ()L'GUAYAQUIL.
        ltisim portanttonotethatthe cltrrentgovernm kv
                                                     qtasinelltionedabovehasinititateproceduresto com pensatethe
        partieshanned bytheactsofthi,previousgoverrlkzent.




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Case 1:19-cv-22281-BB Document 12 Entered on FLSD Docket 06/24/2019 Page 8 of 55




 ADDITIONAL PAGE - (CON CINUATION ()F SRATEMENT OFCLAIM)
 111.Statem entofClaim


 9)Ata11times,DefendantsLEIINIDASEFRAIN P1AZA VERDIJGA asalawyerfor
 ZOFM GUA,S.A.owned by Plaintiff(STOCK 8zFUND M ANAGERS OVERSEAS
 SOCIEDAD ANONIM A),aCostaRican CorporationandPlaintiffinthisaction,LEONIDAS
 PLAZA DIAZ alsoanattorneyforthisentity,CARLOSAROSEM ENA BAQUERIZO,
 VICTO R M A NU EL AN CHU N D IA PLA CES A N D CA RLO S X A VIER CAD EN A A SEN CIO
 conspired to create a ûçsim ilarentity underthe Law sofPanam a nam ed:ICSTO CK & FUN D
 MANAGERSOVERSEAS,INC (A Paoamanian Corporation)will)thesolepurposetoconfuse
 the courtsofthe JudicialCircuitofEcuadorw here fundshave beea approved as restitution to be
 paid to the PlaintiffûtforZO FRAG U A S.A .STOCK & FI-JN D M AN A GERS O VERSEA S
 SO CIEDA D AN ON IM A ,a Cot   sta Rican Com oration''

 10)Bycreatinganentityltwithanidenticalname''batregistered inadifferentjurisdiction,the
 Defendantsherein,used theirposition and appointm entas Attorneys ofthe Plaintiffand as çû
 Fiduciary agents''to claim and receive fundsforthe restitution settlem ent
 11)Uponinformationandbeliel
                           ',theDefendantsbavealreadyreceivedthefundsfrom the
 Ecuadorian courtin the nm ountofFOU R M ILI,ION SEV EN HIJNDRED N IN ETY TH REE
 TH OU SA N D SEV EN HU N DR ED AN l3 SIX TY N IN E DO LLA R F
                                                             7.Fundsthatw ere allocated to
 thePlaintiffZOFRAGUA,inBANECUADOR S.A.(STOCK & ICUND MANAGERS
 OVERSEAS SOCIEDAD ANONIM A),a Costa Rican Com oration.Copy oftheJudicial
 Paym entOrderishereby attached asExhibitûtE''.
 12)Theabovementionedftzndbwerealreadydepositedinto theaccountoftheDefendant
 LEO N IDA S EFR AFN PLA ZA VERD UG A with Receiptlium ber09-80-200-0158 on June 18,
 2019.SeeExhibitç1E''.




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 Case 1:19-cv-22281-BB Document 12 Entered on FLSD Docket 06/24/2019 Page 9 of 55



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                 sameinformationforcfq
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         C.      TheAmountin Contrùpversy

                 Theamountin controversy-tbe arpchtlpttbenlplntiff-cloimsthe tefert
                                                                                  qantowesortheam ountat
                 stake-ismorethan $75,000,notcourting interestandcostsofcourt,because (explainl.
                                                                                               .
                 TheAM OUNT IN COITTROVERSN ISFOUR HIJNDRED M ILLION DOLLARS ($400,000,000.00
                 USD).


111.     Statem entofC laim

         W riteashortandplain statemelitoftheclaim.Donotm akelegalarguments. Stateasbriefly aspossible the
         factsshowingthateach plaintift
                                      :isentitledto thetlamagesfkrotherrelie('sought.Statehow each defendantwas
         involved and whateach defendautdidthatcauledtheplaintiffharm or&'alated theplaintiffsrights,including
         thedatesandplacesofthatinvolvementorconduct. ffmorethan onecl:lim isasserted,numbereach claim and
         writeashortandplain statementofeach claim iI1asepai' ateparaggaph. Xttach additionalpagesifneeded.

         Theplaintiftl(name) SEYED '
                                   -'
                                    kIOGI1ANIaszkssijuktl
                                                        eofS&7 êvlaikakt.
                                                                        ;ksOverseasSA .and thedefendant,
         (nume) THEPORTAIJTHORX'fOFGL1AYAOUlLgoNot        'Ecuador,ETzhvl- ,madean agreementorcontracton
         (date)                 .'
                                 l-he l
                                      tgsreementorcontractwas(()ralorwrï/fcz// written                    . Underthat
         a:reementOrcontract,thepal-
                                   tieswereregttiredto s'
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Case 1:19-cv-22281-BB Document 12 Entered on FLSD Docket 06/24/2019 Page 10 of 55



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                       ntforaCivilCaseAllelr
                                           ingBreaclofColltract
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        Theplaintiffhascompliedwith theplaintifrsobligatiol)sunderthecontract.

IV.     R elief

        Statebriefly and preciselywhatdamagesorotherrelieftheplpintiffaskhthe courtto order.Donotmakelegal
        arguments.lnclude anybasisforclaiminethatthewi  'ofyb!salleeet!arec'
                                                                           tlntirlkllnjlatthepresenttime.lnclude
        the amountsofany acmaldam agesclaimed fortherlctsaileged andtheùlasisfortheseamounts. lnclude any
        punitive orexemplary damagesnlaimed,theam otmts,aild thereasonsytluclaim you areentitledto actualor
        ptm itivem oney dam ages.
        1.ThePlaintiffhasbeenharmeflby theactsandactionsoftlleDefendantsandrequestsexpectation damagesin
        theamountof$400,000,000.00 USD.

        2.ThePlaintiffalsorequestsequityrcliefasa!lInjunction OrdertodirecfthecourtofEcuador(Guayaquil)
        wherethefundspayableto S&F i'U,
                                      N)-)'
                                          .
                                          ù A hi/4tzilbks ON'r:tt:
                                                                 $L./&o >./t4ad been aiready authorizedbytlle
        GovernmentofEcuadorforpaymenlandarecurrentlywitllthecotlrtrqpistryaccount.ThisInjunctionOrderis
        neccesaryto stop paymenttoanythird entfty includingbutnotlimitedtothe 'sham ''andunauthorized company
        S&F FUND M ANAGERS OVERSEAS m C,created by attolmeyLEONIDAS PLAZA VERDUGA &
        LEONIDAS PLAZA DIAZ botllattorneysat(he lil'z'   wtoff
                                                             'L/kzz'
                                                                   v>&'
                                                                      ER' :
                                                                          -)(JGA & PLAZA inthecity of
        Guayaquil,entity asmentionedabove created with thesoleintention to collectthementionedfundsthatbelong
        totheirclientS&F F      M AN AGERS OVERSEAS S.A.and now theassignee and PlaintiffM r.SEYED
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        B.       ForAttorneys

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                                                                  Guayaquil,5 de Junio de 2002




                SEROR
                ALFREDO JURADO V.                        :
                GERENTE DE 4PTPRIDAD PORTUARIA DE GUAYAQUIL
                CIUDAD.-

                De m is consideraciones'
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                        Con micordialsaludo,me permito dirigir a usted f por su digno
                interm edio ante quien corresponda, con elpropôsito de solicltarle de m anera
                expresa y urgente se autorice de manera perm anente a Ia Com pasia General
                De ConstruccionesS.A.para que de inicio a Ia obra civilde Ia Zona Franca DeI
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                G uayas en losterrenos que nosfueron entregados legalmente en com odato.

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                adjudicataria de Iamencionada obra.
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                Atentamente



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                SANDRO COGLITORE CASTILLO
                GERENTE G ENERAL
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                Copia para:PresidenteA.P.G.
                           PresidenteZOFRAGUA S.A.
                           Gerente GeneralCom paila GeneraldeConstruccionesS.A.




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  Dr,RaûlG6m ezOrdehana
   GerenteAUTORIDAD PORTUARIA DE GUAYAQUIL
   Ciudad.-


   Asunto: Iniciaci6n de lps trabajns dt eztavacién, relleno y com pactaciôn de
   terrenosde      ZonaFrancadelGuayas


   D e nuestras consideraciones:


   Por la presente cumplo con informarle que ya se estân realizando los trabajos de
    excavaciön,relleno y compactaciön de losterrenoscedidosen comodato porAutoridad
    PortuariadeGuayaquil,parala & naFrancade1Guayas.

    Dichostrabajos1osesté realizando la empresa Compasia Generalde Construcciones,
    para lo cualse ha designado como Fiscalizador de la Obra allng.Enrique Lullini,el
    cualjunto con un ayudante vtriscarân 1os trabajos que realizarâ la empresa antes
    m encionada.
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    Agradectré designar a una persona de1Departamento Tlcnico de Autoridad Portuaria
    de Guayaquilla misma que deberâ coordinarcon ellng.Enrique Lullinilas obras en
    ejecuci6n.

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                 APG haresuelto desi
                                   gnarme comocontraparte en lacoordinaciön de Iostrabajosque
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                Por lo expresado, procederé a partir de hoy a Ia mencionada coordinaciön con el
                Fiscalizador de la obl
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                Celular :099610180
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                Atentam en e,

               ING. LEXVILLACRISSM CHEZ
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                1.- La ampliaci6n de1 plazo de ejecuciôn de obras hasta cl 31 de
                diciembre de12008, fecha en la cualse deben estarrealizando operaciones de
                com ercio exterior en la Zona Franca,de acuerdo alCronogram a Valorado de
                Obras,comprom etido por los inversionistas que contempla la construcciön
                delproyecto en tres etapasdebiendo concluir la construccidn de la primera
                etayade10,32hectâreasenjulio/o7,lasegundaetapade 10.44hectéreasen
                jullo/08 y la tercera etapa de 11,54 hectâreasen julio/og,ta1como aparece
                detallado en elCronograma cuya copia ssica se adjunta aligualquc su
                presentaciôn en m edio magnético.

                2.- La Reforma alConvenio de Comodato suscrito el 3 de Octubre del
                2001 entre la Autoridad Portuaria de Guayaquil y Zofragua S.A ., cuya
                implem entaci6n solicitada contiene las mfnim as condiciones de estabilidad
                que garantizan porlo m enoselresarcimiento de lainversiön. Para este efecto
                nos permitimos adjuntar el texto con 1as reformas sugeridas por 1os
                 inversionistas para que sea sometida a discusiôn y consideraciön deI
                 Directorio de la AutoridadPoA ariadeGuap quil..
                 D e requerirse por parte delD irectorio la am pliaciön y explicaciön de 1os
                 detallessobre lk constnzcciön delaobra ysobrela fundamentaciön de 1as
                Refonnas alCom odato,elConsorcio deInversionistas pone a disposiciön una
                presentaciôn directa y personalizada de 1osvarios aspectos que involucran
                lanegociaciôn y desarrollo dela ZonaFranca.

                En la seguridad de la atenciön priorifnn-a que estam os seguros se daré a la
                Presente solicim d, anticipamos nuestro agradecim iento, a la vez; que
                aprovtchamos ésta oportunidad para reiterarle nuestros sentim ientos de alta
                consideraciön y estim a.



                                                         M uy atentam ente,



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                ln                                   S                                 .       osé Centeno Abad
                       PRE DENTE                                                  G ERENTE GENERAL




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               EL PROGRESO LLEGA A BUEN PUERTO, ELPIJERTO CONFIABLEDEGUAYAQUIL

           Guayaquil,15 de diciembre de 2006
           tJCD-005667



            Seiores
            lng.CésarRoh6n Hervas,Presldente
            lng.José centeno Abad,G erente General
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            ZOFRAGUA S.A.
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            De mIs consideraciones:
            Cum plo en informar a ustedes que,de conformidad con Io resuelto porelDirectorio en
            sesi6n celebrada eldfa 13 de diclembre deIpresente aho,conocido vuestro oficio del28 de
            noviem brq de 2006 dirigido alPresidente deIDirectorio de APG ,se resolviô prorrogarel
             plazo de ejecuciônde obrasen elterrenoentregadoen comodatohastael31 dediciembfe
             de 2008.
             Este Directorio tam bién resolvi6 que por l
                                                       o menos el 50% de Ia prlmera etapa de1
             cronograma valofado de obrasdeberé estarejecutado hasta el31 de diciembre de 2007,
             para m antenerIa pr6rroga de plazo antes mencionada.
             Estâ pendiente Ia presentaci6n deIinforme Iegalde Ia Unidad de Asesorfa Jurfdica.
             respecto a las reformas alcontfato presentado en su com unicaci6n;asfcomo elinform e
             deIAnalista Técnico que se encuentra revisando elcronogram a valorado de obras en las
             tres etapa
             H o propicla esta opQ unidad para relterarles Ios sentimientos de mi distlnguida
              onsideraciôn y estima.
             M uy atentam ente,


             LUIS 1.TOBRES CHE A
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         EL PROGRF-KO LLEGA A BUEN PKERTO. EL puERTo CONFG BLE DE GDAYAQOIL


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            EL PROGRESO LLEG A A BUE
                                    N p:ERTo,Eb PUERTO CONFIABLE DE GPAYAQUIL
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                 * Con Fecha 3 de octubre del2001, fue nrmado elcomodato cntrc Zofragua y
                   APG en elcualsecedfan 326.220 m2,Deacuerdo alcontmto dc com odato cn su
                      cléusula sexta:-PROGRAMA DE INVERSI6N Y DE EJECUCIONIcl
                      cronogram a de actividades de inversiones debiô iniciarse a padir dc la
                      suscripciôn dt1mencionado comodato ysuplnzn de 24 de meses con un valor
                                                                        .

                       no menora$ 7'000.000,00.
                   * Con fecha 13 de diciembre del 2005 se finna un adem dum al contrato dc
't.O 'e                comodato en menciôn.con elobjeto de nmpliarelplnvn establecido en la
                       clâusula sexta deldocum ento antes mencionado;% sladando eltérmino de 1%
                       actividadesdeejecuciôndeobraparael31dediciembm del2006.
                       M ediante oficio sln de128 de noviembre del2006 elPrcsidente y Gtrcntc dc
                       Zofragua Ing.Cesar Rhon Hervas e Ing.José Centeno Abad respectivnm ente
                       solicitan alPresidente de1Directorio de APG de esa fccha Almirante Fernando
                       Donoso M oran,entre los puntos mls im polantes la nmpliaciôn del Plazo de
                        ejecuciôndeobrashastael31dediciembrede12008.
                    . M ediante resoluciôn 1* -353-2006 del13 de diciembre de ese a5o elDirectorio
                      de APG resolvié autorillu al Gerente la suscripciôn del Ademdum
                      correspondiente pnra nm pliarelplnyn delcontrato de com odato hasta el31 de
                      diciem bre del2008,condicionado quc hasta el 31 de diciem bre de1 2007 se
                      cum plaalmenosconel50% de 1% obrasplaniscadaspnm la primeraetapa.

               Inversiön estimadaen Prim era Etapa:USD.$.5'583,097.58

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  &             50% deInversiônenPrimeraEtapa: UsD.$.2-791,542.79

Ci              CRONOGM M A VALORADO.-
                EjcronogrAmavalomdo PresentadoporZofragua:consideraun perfodo deejecucién
                desde el01 de agosto de 2007 hasta el31 de dlciembre de 2008,y los % bajosse
                clasifk an en 3 etapas,cuyosm ontosdtinversi6n sedetallaa a continuaciôn:

                1.-Prim em Etapa:

                IniciodeTrabajos: 01deagostode2007
                Ténnlnodetrabajos: 31dediciembrede2007
                Extensiôn:                10.32 Has.
                Inveaitln:                USD.$.5*583,097.58

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            EL PROGRESO LLEGA A BUEN PUERTO. EL PUERTO CONFIABLE DE GUAYAQUIL
            2.-SegundaEtapa:

            lnidodeTrabajos: 01deenerode2008
            Ténninodetrabajos: 30dejuniode2002
             Extensitm :                 10.44 Has.
             lnversi6n:                  USD.$4.171,620.35

              3.-TerccraEtapa:

               lniciodeTrabajos: 01dcjuliode2002
               Términodetrabajos: 31dediciembrede2008
               Extensiôn:                 11.54 Has.
e >            lnversibn:                 USD.$.2'109,242.95
G     #
               INFO RM E TECNICO DE LA INSPECCION REALIZADA.-
               Vale indicar,que Zofragua ha tntregado los planos Arquittd6nicos con énfasis en la
               Regeneraci6n Urbana y los disesos desnitivos dd Sistema de Agua Potable.Aguas
               Servidas,Ag''.qU uvias.lnstalacionesEléctricas,Telecomunicacionesy Seguridad.

                En la reunibnde trabajo sostenidaen 1% oGcinasde Zofragua(Ex Comisariato de los
                TrabajadoresdeAPG)con e1Arquitectn EdgarAnnilosO-R e lng.Claudio Luque,
                responsables técnicos de Consmzctora Valero,que es la compe fa responsable de la
                ejecuci6n de los trabalos para eldesm ollo dt Iaa na FOnca y de la inspeccién
                realizada elM iércoles 12 de Diciem brede12007,seconstatôlo siguiente:

                 1.-Prim era Etapm
                 Los trabajos se iniciaron en Agosto de 2007 y st han desm ollado 1% siguientes
                 actividadesde obrw quose ddallana contlnuaciin:
                      * Iu modelacién y acondicinnamiento dtl Edincio de1 Ex Comiurlato dt
                         Em pleadosde APG pno elfuncionnmiento de 1% oncinasde Zoftaguaaque se
                           encuentra concluido.Lostrabajosejecutndosson:construcciôn de cistema y
                           Pozo séptico,acomttida eléctricaindernditntt,aireacondicionado centraly
                           dtmâs instalacionescon acabadosdepnmera;asfmismo en Ia partt exttrior,se
                           encuentrahabilitadael&eadeJardineriaydtparqueos.
                  Entléreadtstinadaparae1desarrollodelaprimeraetapaseencuentranejecutadas1%
                  siguientesactividades:
                       . Excavaciôn y Relleno com pactado en todaelàreadelterreno.
                       . Suministx e Instalacidn deTuberfasde Honnigbn Simple y PVC pra Ag,mq
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       EL PROGRESO LLEGA A BIJEN PIJERTO, EL PDERTO CONFIABLE DE GPAYAQUIL
            * Sum inistro t lnstalaci6n deTuberfasdePVC Uniôn Elastomerica y Accesorios
               para AguaPotable
            * Suministro tInstalaciôndtTubtriasdtPVC pncaAguasLluvias
             * Constnlcci6ndeunapartede1Cerrnmientode1ladoEste.
              * Selm ConstrtlidoPaledelosbordilloscunetaydelosbordillosparterre
              * Selv constnlido1% câmarasdehormigônarmado
               * SehaConstruidopartede1ascajasdomiciliariasyde1% caju derevisiön
          IN VERSION EN PRIM EM ETAPA:USD $,2'267.294.82
           Las actividadesatrasadasen base alcronogrnmade obrade laPrimera Etapa son las
           siguientcs:
                * Unapaledelosbordilloscunetaybordillosparterre.
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                 . Cistem a,Bom ba,lnstalaci6n de medidores
                 @ Parte dtlsuministro einstalaci6n devilvulas.
                 . Instalacioneseléctricas.

            2.-Segtm da y Tercera Etapa.
                      Se encuentra colocada la precarga de relleno en una altura aproximada de 3.50
                      metros sobre 1% callesproyectadas,Vale indicar,que cllnndo se retire la
                      precargw este materialselo utlliyArâen 1asâreasadyacentesa 1% calles.
                      Para la colocaciôn de laprecargade estaseupas sehizo necesario habilitaruna
                    via deacceso.
                  . Elcolectorprincipalde aguas Iluvias de la M mera Etapa se lo ha continuado
                    hasu laTercera Etapasparaquedescarguealcanalabierto existenteen ellindero
                    Este, a gn de minimivmr los ricsgos de inundaciôn en la préxima es-taciôn
'.''                invernal.Esneceuric sesalarqueestecanalabierto descargaalEstero Cobina.

               INVERSION EN SEGUNDA ETAPA:USD $.557,757.54
               INVERSION EN TERCERA ETAPA:USD $.185,919.18
               VALOM CION DE LOS TRABAJOS EJECUTADOS A LA FECHA ,-

                Considerandoeltiempodeejecucibndeobrasdesdeel01deagostode2007hastael30
                denoviembredel2007,seestim an 1ossiguiente:montosde inversiôn:

                 M ONTO DE W VERSION:USD.$.2'791,548.79
                 Dispuesto?orDirectorioAPG
                 (HastaDimembre31de2007)
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           EL PROGRESO LLEGA & BVEH PVERTO,EL PUERTO CONFIABLE DE GDAYAQUIL
           PRIM EM ETAPA                         USD $.2.267,294.82
           SEGUNDA ETAPA                         USD $. 557,757.54
            TERCERA ETAPA                        USD $. 185,919.18
             M ONTO DE INNERSION: USD.$.3'010.971.54
             (HastaNovitmbrt30dt2097)

              CONCLUSIONES.-
               Zofraguahacumplidoton laInversiùnatjecutarseenlaPrimera Etapa,enun plazo
               m enora lo program ado.
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                Vale rtitev que este Depndnmentc ha cuantificado los valores de inversiön, de
                conformidadalosdatosqutnosbatntregadoelArquitectoEdgarArmijosGonzâlez-
                Rubio,ftmcionm'o de Constnmtora Valero y a la veriscaciön delavante de obra en
                sitio.
                  Finalmtnte,estamosadjuntnndo1% fotogra;astomadasel12deDiciembredcl2007,
                  fecha en la cualst realizôla inspecciôndeobra.



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             PRESIDENCIA                                                             coNu oFRA
           DE LA REPUBUCA                                                  coNsElo NACIONAL DE ZONAS FRANCAS


            ACTA DE VERIFICACION DE CUM PLIM IENTO DE AVAN CE DE O BRAS
                        D E LA ZO N A FRAN I:A ''ZO FM GU A S.A.''

           En la ciudad dc G uayaquila 1os25 dias dclm csdc sepucm brc de 2.008,los sct
                                                                                      sorcs D r.Xavicr
           Drouet.DircctorEjccutivo (E),ysr-Ivin Reyes,Técnico A,delegadosdclConscjo Nacionaltlc
           Zonas P'
                  ratlcas colljuntamcnte con cl sr. Ihusto Benites, Gerentc Gcncral dc la cmprcsc.
            administradora ZO ITKAGUA nosconstituimoscn cllugardondefullcionadichaZonaPranca con
            e1objetodcdctermingrclcumplimicnto deIgvanccdeobrassobrel;sprormcstasprcscntadasalas
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            1)ANTECENDENTES:

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                      m ellcionaen suArdculo 3que1,empresadebeH cumplircon lasinversiones,cronogramas
                      y plazospresentadosen elestudio de factibilidad econômica,dcbiendo elCON AZO PIG
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          PRESIDENCIA                                                            coNAzoFRA
        DE LA REPUBUCA                                                 coNsElo NACIONALDEZONAS FRANCAS

                    a) De acucrdo al Esttldin tlc Factibilldad prcscnlado al CONAZOFRA pira
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                 PRESIDENCIA                                                                  CONAZOFRA
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       ESTUD IO JU RID IC O PLAM                             VERD UG A & PLA ZA S.A .
                                           FUNDADO EN EtA%O 1969



                         CONTRATO DE PRESTACIUN DE SERVICIOS PROFESIONALES.

                         En Ia ciudad de Guayaquil,a los doce dias delm es de Abril dela5o
                         dos m iIdoce,se celebra elsiguiente CO NTRATO D E PRESTACION
                         DE SERV ICIO S PRO FESIO NA LES, entre, p0r una parte! La
                         com pasia STO CK & FU N D M ANAG ERS OV ERSEAS SOCIEDA D
                         ANéNIMA, representada por su Presidente, y en taI vidud,
                         APODEM DO GENEM ZSIMO, el Sesor FERNANDO ERNESTO
                        MARCH GAM E, portador de 1: cédula de identidad y ciudadanfa
                        No.0907830632,conform e lo justifica con elnom bram iento que
                        en copla cefliicada se anexa a!presente Contrato -compasîa que a
                        su vez es /a principalaccfon/jfa de la persona .jlzrlW/ca ZOFM GUA
                        S.A.- A la que en adelante se #as podré jlam ar'%La Contratante-;y,
                         por otra parte, el sesor DR. LEONIDAS EFRAjN                          PI-APA
                        VERD UGA, Abogado, M atrfcula #632 del Colegio de Abogados deI
                        Guayas;y,Registro #09-1969-2 delForo de Abogados deIGuayas,
                        a quien en adelante se Io podré llam ar ''EIContretado'' altenor de
                        Ias siguientes cléusulas:
                        PRIMERA : PROPUESTA Y ACEPTACION-- ''L: Contratante'' tienen a
                         bien contratara,pR.laoxzp.s sFRafx e,ava veRousA,para
                         que profesionalm ente, en su calidad de Abogado,asum a la defensa
                        jurfdica de la com pasia adm inistradora de Zona Franca,
                        denom inada ZOFRAGUA S.A., en la que la com pasfa, STOCK &
                        FUND MANAGERS OVERSEAS SOCIEDAD AN6NIMA, es la
                        m ayor accionista; defensa jurfdice qtle tlene que ver con todas I:s
         '
                        acciones adm inlstrativas,civiles,penales;y,arbitraje y m ediaci6n o
             X          de cualquier otra indole que pudiere iniciar ZOFM GUA S.A.,en
             X,         defensa de sus derechos; o en acciones sim ilares e l;s antes
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                 j'.
                     yt descritas, que pudieren iniciarse contra la antes mencionada
                        personajuridica -ZOFM GUA S.A.-
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     Garcia Moreno Nc.913 yAv.9 de Octubre .Telfs..232259G-2322597 pFax:(593-4)2324668 *Casillade Correo:09.03=719
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                Entre Ias Dcciones a las que se viene haciendo m enclôn, se
                encuentra eltr/m ite adm inistratlvo que en loS actuales m omentos
                ha iniciado Ia Autoridad Portuaria de Guayaquil,contra la compa6ia
                adm inistradora de Zona Franca, denom inada ZOFM GUA S.A.; y ias
                acciones judicieles,edm inistrativas; y,de erbitraje y mediaciôn, o
                cualquier otra de sim ilar indole, que debe iniciar ZOFRAGUA S.A.,
                para defender sus derechos e ïntereses, evitando de esa m anera
                que Ia Autortdad Portuaria de Guayaquille cause dasos y perjuicios.
                ElDR.LEONIDAS EFRZ N PI-APA VERDUGA,acepta elencargo
                que se Ie solicita.
                SE
                 -G UNDA :CO NTRATO Y PAGO DE HONO RARIOS PROFESJONALES.-
                En vlrtud de Io anterior %'La Contratante''# en efed o, contrata Ios
                Servicios profesionales del DR. LEONIDAS EFRAiN PIA7A
                VERDUGA,para Ia gestidn establecida en Ia clâusula anteriory de
                m utuo acuerdo, Ios contratantes convienen en que Ios honorarios
                profesionales que deberé perclbir el DR. LEONIDAS EFRAiN
                PLAZA VERDUGA,porelto bajo que se le encom ienda,serâ;
                1.-Alinicio de Ia gestiön,es decir, a la firm a de este contrato, Ia
                suma de TREINTA MIL00/100 DUO RES DE LOS ESTADOS UNIDOS
                DE AMIRICA (US$3Q.000,oo).
                2.-El50% de lo que Ia AUTORIDAD PORTUARIA DE GUAYAQUIL,Ie
                pague a ZOFM GUA S.A., por Ios daKos y perjuicios causados
                derlvados de Ias Resolucîones No.PD-012-2012, de fecha 20 de
                m arzo del2012, em itida por elDirectorio de la Autoridad Portuaria
                de G uayaquil; y, G-028-2012 de feche 23 de Mac o deI2012 que
                fueron notificadas a ZO FRAG UA S.A., el dfa 26 de M arzo deI 2012
                m ediante Oficio No. APG-G -2012-000317-O , suscrito por ei Ab.
                Juan Carlos zalrala Reyes, Gerente de Ia Autorldad Portuarla de
                Guayaquil; y cualquier otra Resoluci6n que tenga que ver, o se
                derive de las antes m encionadas Resoluciones; o,el50% de lo que
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                                         No.2/..,
                                         Ia Autoridad Portuaria de Guayaquil,Ie restltuya a ZOFM GUA S.A.,
                                         en pago por (os bienes inm uebles,y dem âs bienes poradherencie y
                                         m ejoras reallzadas por ZOFM GUA S.A. en Ios terrenos de
                                         propiedad de la Autoridad Portuaria de Guayaquil, en eltiem po en
                                         que estuvo vigente elContrato de Com odato que se otorgö eldia
                                         03 de Odubre del2001 en la Notarfa Décim o Segunda delcantön
                                         Guayaquil, elm ism o que fue inscrito en elRegistro de la Propleded
                                         de Guayaquil,eldfa 12 de Noviem bre deI2001.
                                         CLAUSUG      TERCERA.-     ACUERDQS      IUDICIALES        Y
                                         EU RN UDTCIALES.-Queda plenemente acordado y establecido que
                                         para elcaso de que 'lLa Contratante''ê por su propia cuenta, Ilegue
                                         e un acuerdo judicialo extrajudicialcon la Autoridad Poouaria de
                                         Guayaquil.que ponga térm ino a Ias diferenciàs m enclonadas en las
                                         cléusulas anteriores, que m ediante este Contrato se esté
                                         encargando al patrocinio profesional del Dr. Leonidas Plaza
                                         Verduga;      *La Contratante'' se com prom ete a pagar al DR.
                                         LEO N ID AQ PlATA V ERDUGA , la totalldad de loS honorarlos
                                         profesionales pactados en elpresente Contrato,acorde a la förmula
                                         estableclda en Ia Cl/usula Segunda,ordinal2.
                                          CUARTA.-GASTOS.-Queda pedeeAmente convenido que todos los
                                          gastos,que sean necesarlos para elinicio de Ia acciön o trâm ite de
                                          arbltraje,corren de cuenta de ''La Contratante'',es decir,que ella
                                          asum irén los costos deItrémite deIarbitrale que se debe realizaren
                                          elCentro de Arbitraje y Mediaci6n de la Câmara de Comerdo de
                                          Guayaquil.
                                          Los demés gastos que genere cualquiera de l?s trdmites a Ios que
                                          se hace referenda en Ia presente contrataciön, se Ios dividlré en
                                          pa/es iguales entre '%La Contratante''y *1EI Contratado'' o sea quee
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                                           dichos gastos,le corresponderâ cubrirlos,el50% a cada una de las
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                   OUINTA: JURISDICCIO N Y COM PW ENCIA.- Para el caso de existir
                   algûn hipotético reclamo resultante de Ia aplicaciôn de este
                   Convenio, Ias partes se som eten a la com N tencia de uno de loS
                   Jueces de lo Civil y M ercantil de la ciudad de Guayaquil, Provincia
                   delG uayas, y a Ia v;a VerbalSum aria.
                   Para consu ncia de lo anterior, Ias partes srm an el presente
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Case 1:19-cv-22281-BB Docum ent1 Entered on FLSD Docket06/04/2019 Page 37 Of39




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  1os Estados Unidos de Américw en lo sucesivo denom inado como CESIONARIO, hem os
  convenido en elpresente conlato de cesiön,endoso y to Kpaso de acciones,elcualse regi/ por
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